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UNITED STATES DISTRICT COURT
FOR THE

MIDDLE DISTRICT OF PENNSYLVANIA

 

UNITED STATES OF AMERICA

Plaintiff

CIVIL NO.
vs.

JASMIN GARDINER
PATRICK D. GARDINER

Defendants

COMPLAINT

The United States of America, on behalf of its Agency, the Rural Housing
Service, by its specially appointed counsel, Rebecca A. Solarz of KML LAW GROUP,
P.C., represents as follows:

1. This Court has jurisdiction pursuant to 28 U.S.C.§1345.

2. The last-known address of the Defendants, JASMIN GARDINER and
PATRICK D. GARDINER (“Defendants”) is 2647 Meckesville Road aka 91 Meckesville
Road, Albrightsville, PA 18210.

3, On or about July 24, 2006, at the special instance and request of JASMIN
GARDINER and PATRICK D. GARDINER, the United States of America, acting
through the Under Secretary of Rural Development, on behalf of the Rural Housing

Service, United States Department of Agriculture, (“Plaintiff”), loaned to the Defendants

 
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the sum of $165,250.00 pursuant to the provisions of Title V of the Housing Act of 1949,
as amended, (42 U.S.C.§1471, et seq).

4. As evidence of the indebtedness, Defendants executed and delivered to the
Plaintiff, a Promissory Note dated July 24, 2006 in the amount of $165,250.00. A true
and correct copy of the Note is attached and incorporated as Exhibit “A” (“Note”).

5. Defendants, for the purpose of securing the Plaintiff against loss, did
execute and acknowledge to the Plaintiff, on or about July 24, 2006, a Real Estate
Mortgage which granted and conveyed, and mortgaged the real property described in the
Mortgage to the Plaintiff. The Real Estate Mortgage was duly recorded on August 14,
2006 with the Office of the Recorder of Deeds, Carbon County, Pennsylvania, in Book
1488, page 887, as Document Number 200610857. A true copy of the Real Estate
Mortgage is attached and incorporated as Exhibit “B” (“Mortgage”).

6. Plaintiff is the owner and holder of the Note and Mortgage and they have
not been assigned.

7. The property secured by the Mortgage is known as 2647 Meckesville
Road aka 91 Meckesville Road, Albrightsville, PA 18210 and is more fully described in
the legal description attached and incorporated as Exhibit “C” (“Property”). The property
subject to foreclosure is within the jurisdiction of this Court.

8. The Note and Mortgage are in default as Defendants have failed or refused
to comply with the provisions of the Note and Mortgage, as follows: (a) failed or refused
to pay the installments of principal and interest when due; (b) failed or refused to pay real

estate taxes when due; and (c) failed to maintain the security of the Property.

 
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9, Due to the breaches of the provisions and conditions of the Note and
Mortgage, the Plaintiff elects to declare the entire amount of the indebtedness of the Note
and Mortgage to be immediately due and payable.

10. The amounts due and owing to Plaintiff on the Note and Mortgage are as

follows:
PRINCIPAL BALANCE $145,382.29
Interest from 01/24/2017 to 07/31/2019 at 6.2500% $22,852.92
Interest Recapture $24,977.46
Late Charges $151.92
$193,364.59
Escrow / Impound Required +$934.29
Fees Required with Payoff Funds +$741.39
Fees Currently Assessed +$11,532.05
$206,572.32

11. Notice of Intention to Foreclose pursuant to Act 6 of 1974, Notice of
Homeowner's Emergency Mortgage Assistance Program pursuant to Act 91 of 1983 (as
amended in 2008), and/or Notice of Intention to Foreclosure as required by the terms of
the Mortgage, as applicable, have been sent to the Defendant(s). Copies of the notice(s),
redacted to remove confidential account information, are attached hereto as Exhibit "D"
and made a part hereof.

12. No other action has been brought at law or in equity to enforce the
provisions of the Note and Mortgage, and that all conditions precedent to the bringing of
the action have been performed or have occurred. Plaintiff has complied with the

requirements of 7 C.F.R.§3550.207.

 
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WHEREFORE, the Plaintiff demands judgment as follows:
Defendants and every person whose conveyance or encumbrance is subsequent or
subsequently recorded, be forever barred and foreclosed of all rights, claims, lien, and
equity of redemption in the mortgaged premises; the Property may be decreed to be sold
according to law; the monies arising from the sale be brought into Court; Plaintiff be paid
the amount adjudged due with interest thereon to the time of such payment, together with
costs and expenses of this action and expenses of the sale so far as the amount of such
money applicable thereto will pay the same; the Plaintiff shall have such other and
further relief, or both, in the property as shall be just and equitable.

United States of America by and through
its specially assigned counsel,

KML Law Group, P.C. LL YZ “
By: ) J

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Defendants

NOTE
MORTGAGE
PROPERTY

 

CIVIL NO.

EXHIBITS

NOTICE OF INTENTION TO FORECLOSE and NOTICE OF
HOMEOWNER'S EMERGENCY MORTGAGE ASSISTANCE PROGRAM

 
